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 6
     Attorneys for Defendants, Taras Investments LLC, et a.

 7                            UNITED STATES DISTRICT COURT
 8

 9                          CENTRAL DISTRICT OF CALIFORNIA
10
     Shonna Marie Counter,                                    CASE NO. 2:21-cv-04368 MCS
11
                  Plaintiff,                                  (MARx)
12
          vs.                                                 NOTICE OF DEFENDANTS'
13                                                            MOTION FOR SUMMARY
14   Taras Investments LLC, a                                 JUDGMENT; MEMORANDUM OF
     Delaware Limited Liability                               POINTS AND AUTHORITIES
15
     Company; Taras Himalayan Cuisine,
16   Inc.; and Does 1 _ 10,                                   Date: January 10, 2022
                                                              Time: 2:00 p.m.
17
                  Defendants.                                 Courtroom: 8A
18                                                            Judge: Hon. Virginia Phillips
19

20

21         TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
22
           YOU ARE HEREBY NOTIFIED that on January 10, 2022 at 2:00 pm i
23

24
     Courtroom 8A on the 8th Floor of the United States District Courthouse for th

25
     Central District of California ("First Street Courthouse") located at 350 w. 1st Street
26
     Los Angeles, CA 90012, defendants, Taras Investments, LLC, and Taras Himilay
27

28   Cuisine, Inc., will move for summary judgment.

                Notice and Memorandum of Points and Authorities in Support of Motion for Summary Judgment
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           Defendants move for summary judgment on the following grounds:

 2
           1. Plaintiffs first cause of action for violation of the federal ADA regardin
 3
              access to defendants' restaurant is moot given the undisputed fact that th
 4

 5            conditions alleged in a previous, identical case brought against them b
 6
              this plaintiff were cured after that first case was dismissed and this cas
 7

 8            was filed; and
 9
           2. Plaintiffs second cause of action under the state Unruh Act is time-barre
10
              by the applicable two-year statute of limitations.
11

12         Said motion will be based on the Memorandum of Points and Authoritie
13
     submitted herewith, as well as the concurrently filed supporting declarations of Tar
14

15   Black and Noah Green.
16
                                                                GREEN AND STEWART, P.C.
17

18

19
     Dated: November 11, 2021
20
                                                                NOAH GREEN
21                                                              Attorney for defendants,
22
                                                                Taras Investments, LLC, et al.

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                  MEMORANDUM OF POINTS AND AUTHORITIES

 2                                                        I.
 3
                                             INTRODUCTION
 4

 5         This is an accessibility case pursuant to the Americans with Disabilities Act
 6
     ("ADA") based on the same facts of an identical case brought by the same plaintiff
 7

 8   against the same defendants that was previously dismissed for lack of prosecution.
 9
     In the interim, the accessibility issues that were the basis of the case was cured,

11
     thereby rendering the federal cause of action for violation of the ADA moot. In

12   addition, the two-year statute of limitations on the ancillary state cause of action
13
     for damages under California's Unruh Act has lapsed. As such, entire case should
14

15   be dismissed via summary judgment.
16
                                                         II.
17

18
                                       STATEMENT OF FACTS

19
           Tara Black is the manager and owner of defendant, Taras Investments LLC,
20
     and also the president and owner of defendant, Taras Himalayan Cuisine 3, Inc.
21

22   ( erroneously suied as "Taras Himalayan Cuisine, Inc.").                    See Separate Statement o
23
     Undisputed Material Fact ("SSUMF") at Fact No. 1. The following facts are based
24

25   on her personal first-hand knowledge.
26
     Ill
27
     Ill
28

                                                          3
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           On December 19, 2018, plaintiff, Shonna Marie Counter, filed a civil

 2
     action in this courthouse against Taras Investments, LLC, for violations of the
 3
     ADA. See SSUMF No. 2. The allegations in the First Case arose from plaintiffs
 4

 5   alleged visits to defendants' restaurant located at 1085 5 Venice Boulevard, Los
 6
     Angeles, California in October, November, and December 2018. See SSUMF No.
 7

 8   3. Plaintiff alleged in the First Case that during those visits she attempted to park
 9
     in the handicap parking space of our parking lot but she could not do so because it
IO

     was blocked by a dumpster and storage shed. See SSUMF No. 4. Within 30 days
11

12   of receiving the Summons and Complaint in the First Case, defendants had the
13
     storage shed and dumpster removed so that the handicap parking space was no
14

15   longer blocked. See SSUMF No. 5.
16
           The First Case was dismissed without prejudice on December 18, 2019
17

18   based on the mistaken representation by counsel to the court that the case had

19
     settled. See SSUMF No. 6. Defendants had agreed to the terms of a settlement
20
     and signed the settlement agreement prepared by plaintiffs counsel in the First
21

22   Case. See SSUMF No. 7. However, plaintiff never signed the settlement
23
     agreement and terminated her original attorneys. Id.
24

25   Ill

26   Ill
27
     Ill
28

                                                          4
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           In May 2021, i.e., approximately 1.5 years after the First Case was

 2   dismissed, plaintiff filed another Complaint in this courthouse which was assigned
 3
     case number 2:21-cv-04368 ("Second Case") alleging the same facts and legal
 4

 5   theories as those alleged in the First Case. See SSUMF No. 8. In particular, the
 6
     Complaint in this Second Case claims that plaintiff visited defendants' restaurant
 7

 8   in October-December 2018, and that she could not park in the handicap spot
 9
     because the shed and dumpster were blocking it. See SSUMF No. 9.
IO

11
           Plaintiff has filed 48 cases in this court regarding alleged ADA-access

12   violations as of November 4, 2021. See SSUMF No. 10.
13
           On November 9, 2021, defendants' counsel emailed a letter to counsel for
14

15   plaintiff in an effort to meet and confer regarding this motion, but has received no
16
     response. See SSUMF No. 11.
17

18
                                                         III.
19
                       LEGAL BASIS FOR SUMMARY JUDGMENT
20
           Summary judgment is appropriate where there is no genuine issue of
21

22   material fact and the moving party is entitled to judgment as a matter of law. See
23
     FRCP 56(c); Ward v. Allstate Ins. Co., 964 F.Supp. 307,310 (CD CA 1997).
24

25         As will be demonstrated in detail below, the material facts in this case are
26
     not in dispute and defendants are entitled to judgment on the matter of law based
27

28

                                                           s
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 1
     on the mootness of the federal ADA claim and the expiration of the statute of
 2
     limitations on the state Unruh claim.
 3
           A. The Federal ADA Cause of Action is Moot
 4

 5         A case becomes moot and therefore no longer a "case" or "controversy" for
 6
     purposes of Article III of the US Constitution "when the issues are no longer 'live'
 7

 8   or the parties lack a legally cognizable interest in the outcome." City of Erie v.
 9
     Pap's A.M. (2000) 529 U.S. 277, 287. In such instances, the question is whether
10

11
     there can be any effective relief. West v. Secretary of Dept. ofTransp., (9 th Cir.

12   2000) 206 F.3d 920, 925.
13
           Here the only remedy available to plaintiff under her federal ADA claim is
14

1s   injunctive relief. However, given that the conditions alleged in the operative
16
     Complaint were cured before the case was filed, plaintiffs only available form of
17

18
     relief under this cause of action has been rendered moot.

19
           Stated differently, plaintiff also lacks standing because she cannot show as
20
     she must for her federal ADA/injunctive relief claim that there is a "threat of
21

22   present or future harm" that must be enjoined. Deutsch v. Travis Cty. Shoe Hosp.,
23
     Inc., 721 F. App'x 336, 340 (5 th Cir. 2018). That is because even where a plaintiff
24

25   has previously suffered an injury-in-fact, there is no current case or controversy
26
     necessary to support an injunction if there are no "continuing, present adverse
27
     effects." Scherr v. Marriott Int'l, Inc., 703 F.3d 1069, 1074 (7 th Cir. 2013).
28

                                                          6
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              Nor can a high-frequency ADA litigant such as the plaintiff in this case

 2
     bypass the standing requirement with a frivolous allegation that she "intends to
 3
     return" to the business in question. Gastelum v. Phoenix Cent. Hotel Venture,
 4

 5   LLC,-2019 WL 498750 at 4 (D. Ariz. Feb. 8, 2019). Nor can plaintiff plausibly
 6
     claim that defendants' prior violations had any "deterrent effect" on her returning
 7

 8   to their restaurant given the her long track record of actively seeking out businesses
 9
     with ADA violations.
10

11
              B. The State Unruh Cause of Action is Untimely

12            Plaintiffs other cause of action is for damages under the state Unruh claim,
13
     and that statute's prohibition against denial of equal access to public
14

15   accommodations per Civil Code §51. That claim is barred by the applicable two-

16   year statute of limitations. See Gatto v. County of Sonoma (2002) 98 Cal.App.4th
17

18
     744, 754-760. In Gatto the California Court of Apppeal held that since California

19   public accommodations claims emanated from common law, the ordinary three-
20
     year limitations period for statutory causes of action does not apply to Unruh
21

22   claims under Civil Code §51, et seq. As such, the personal injury statute of
23
     limitations under California Code of Civil Procedure ("C.C.P.") §340(3) applies to
24

25   claims regarding public accommodations such as this one. 1
26

27

28   1
       At the time of the Gatto case, C.C.P. §340(3) created a one-year statute of limitations. That statute was amended a
     year later to a two-year statute of limitations.
                                                               7
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           Here, plaintiff encountered the alleged violations in late 2018, but did not

 2
     file the instant case until 2021. Her claim is therefore time-barred and should be
 3
     dismissed.
 4

 5                                                          IV.
 6
                                                  CONCLUSION
 7

 8         For the reasons set forth herein, defendants respectfully request that the
 9
     court grant the instant motion and enter judgment in favor of defendants.
10

11

12
                                                                   GREEN AND STEWART, P.C.
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14

15
     Dated: November 11, 2021
16                                                                 NOAH GREEN
17
                                                                   Attorney for defendants,
                                                                   Taras Investments, LLC, et al.
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